                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      NO. 3:12-00206
                                                   )      JUDGE CAMPBELL
BRANDON STUCZYNSKI                                 )

                                           ORDER

       Pending before the Court is a Notice of Intent to Change Plea and Motion for Hearing

(Docket No. 217). The Motion is GRANTED.

       A plea hearing for Defendant Brandon Stuczynski is scheduled for April 25, 2014, at

1:00 p.m. Any proposed plea agreement shall be submitted to the Court by April 23, 2014.

       It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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